UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------------------------------X
                                                              :
 SEAN GALLAGHER, et al.,                                      :
                                              Plaintiffs, :
                                                              :    23 Civ. 435 (LGS)
                            -against-                         :
                                                              :         ORDER
 NATIONAL RESTAURANT ASSOCIATION :
 SOLUTIONS, et al.,                                           :
                                              Defendants. :
                                                              :
 -------------------------------------------------------------X

LORNA G. SCHOFIELD, District Judge:

        WHEREAS, the initial pretrial conference in this matter is scheduled for April 5, 2023.

        WHEREAS, no significant issues were raised in the parties’ joint letter or proposed case

management plan. It is hereby

        ORDERED that the April 5, 2023, initial pretrial conference is CANCELLED. If the

parties believe that a conference would nevertheless be useful, they should inform the court

immediately so the conference can be reinstated. The case management plan and scheduling

order will issue in a separate order. The parties’ attention is particularly directed to the

provisions for periodic status letters, and the need for a pre-motion letter to avoid cancellation of

the final conference and setting of a trial date. It is further

        ORDERED that Defendants’ request for a stay of discovery is DENIED, without

prejudice to renewal. If Defendants seek to file a motion to compel arbitration, to change venue

or to dismiss, they shall file a pre-motion letter, not to exceed three pages, by April 12, 2023,

regarding such motion and proposing a briefing schedule. If such a letter is filed, Plaintiffs shall

file a letter in response by April 19, 2023. The filing of a pre-motion letter does not stay

discovery. A conference will be held on April 26, 2023, at 4:10 P.M. to discuss any pre-motion
letters and renewed request for a stay of discovery. It is further

       ORDERED, regarding settlement discussions, if and when the parties would like a

referral for settlement discussions before a United States Magistrate Judge or a mediator in the

Southern District of New York mediation program, they shall file a joint letter on ECF

requesting such a referral.

       The parties should be aware that the Court does not extend the deadlines for fact and

expert discovery absent compelling circumstances.

Dated: March 31, 2023
       New York, New York




                                                  2
